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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1-26, et al.,                    §
                                                  §
      Plaintiffs,                                 §
                                                  §
 v.                                               §    Civil Action No. 4:21-cv-01236-O
                                                  §
 JOSEPH R. BIDEN, JR., et al.,                    §
                                                  §
                                                  §
      Defendants.                                 §


                                              ORDER

         Before the Court is Plaintiffs’ Motion for Extension of Time to File Reply (ECF No. 113),

filed February 9, 2022. Plaintiffs explain that they need additional time to gather evidence to refute

the contentions made in the Defendants’ brief and declarations. ECF No. 113. In the Certificate of

Conference, the Defendants note that they do not consent to Plaintiffs’ proposed date of February

14, but would consent to a deadline of noon on February 11. Id.

         Having considered the Motion and proposed deadlines, the Court GRANTS in part

Plaintiffs’ request. Plaintiffs must file their reply in support of their Motion for Order to Show

Cause no later than Monday, February 14 at 8:00 a.m. After reviewing the briefing, the Court will

determine whether the requested hearing is necessary. See ECF No. 112.

         SO ORDERED on this 10th day of February, 2022.




                                                      _____________________________________
                                                      Reed O’Connor
                                                      UNITED STATES DISTRICT JUDGE
